Case 1:18-cv-01966-SB Document 335 Filed 09/22/22 Page 1 of 1 PageID #: 12585



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September 22, 2022
                                                                        Warren K. Mabey, Jr.
VIA ELECTRONIC FILING                                                   Principal
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The Honorable Stephanos Bibas
18614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

Re: TexasLDPC Inc. v. Broadcom Inc. et al., C.A. No. 1:18-cv-01966-SB

Dear Judge Bibas:
      Pursuant to the Court’s Scheduling Order, D.I. 151, paragraph 14, the parties provide the
following status update on the California action:
       The California trial court proceedings remain stayed while the parties’ respective appeals of
the court’s October 14, 2021 order granting California Defendant Kiran Gunnam’s special motion to
strike pursuant to the California anti-SLAPP statute, and denying Defendant Anu Yarlagadda’s anti-
SLAPP motion, proceed at the appellate court. Appeal briefing is underway. LSI filed its opening
appeal brief on April 15, 2022. The California Defendants filed their combined opening/response
brief on July 5, 2022. Briefing is still not complete. No oral argument date is set.


Sincerely,



Warren K. Mabey Jr.
On behalf of the parties
cc: All Counsel of Record – via e-mail
